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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISON


JOHN DOE,

       Plaintiff,

        v.                                      CASE NO. 6:24-cv-34

GUTTERIDGE JEANCHARLES, M.D.,                   JURY TRIAL DEMANDED
P.A., a Florida Corporation, and
GUTTERIDGE JEAN-CHARLES, M.D.,
an individual,

       Defendants.



                                 INTRODUCTION

      1.     This is a civil action for damages under the federal Trafficking Victims’

Protection Reauthorization Act (“TVPRA”), 18 U.S.C. § 1595 and related state law

claims arising out of Defendants’ conduct.

      2.     Dr. Jean-Charles targeted desperate and vulnerable Immigrant Medical

Graduates (“IMG”), he lured them to work for JC Medical Center with the promise

of compensation, experience, and a recommendation letter to help them “match” a

residency program, he withheld payment or underpaid these vulnerable IMG’s, and

has coerced them to work full-time hours seeing scores of patients.

      3.     Dr. Jean-Charles profited from this illicit operation while his victims

remained desperate, scared, and poverty stricken.

      4.     Plaintiff was one such victim.
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        5.      Plaintiff respectfully submits his Complaint for damages and makes the

following averments.

                              JURISDICTION AND VENUE

        6.      This Court has federal question subject matter jurisdiction, pursuant to

28 U.S.C. § 1331, because Plaintiff brings this action under 18 U.S.C. § 1595.

        7.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

because all the other claims are related to the claims with original jurisdiction and form

part of the same case or controversy.

        8.      Plaintiff’s claims arise out of the same series of transactions or

occurrences and share common questions of law or fact. The essential facts of

Plaintiff’s claims are so logically connected that considerations of judicial economy

and fairness dictate that all the issues be resolved in a single lawsuit.

        9.      Venue is proper in this district pursuant to 28 U.S.C. § 1361 because all of the

events or omissions giving rise to the claims asserted in this action, including the

Defendant’s misconduct and omissions, occurred in the Middle District of Florida.

                                        THE PARTIES

    A. Plaintiff

        10.     Plaintiff John Doe is a U.S. permanent resident that resides in Central FL

and is sui juris.

        11.     John Doe was a victim of labor trafficking. John Doe fears humiliation,

retaliation, and potential prosecution for what occurred while he was exploited by

Defendants.
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       12.     John Doe’s safety, right to privacy, personal security, and freedom

outweigh the public interest in knowing his identification.

       13.     It is in the public’s interest to give anonymity to trafficking survivors so

that other victims will feel the ability to come forward and not be fearful that their

identity will be publicized.

       14.     John Doe’s legitimate concerns for privacy outweigh any prejudice to

Defendants or the public by allowing Plaintiff to proceed pseudonymously.

   B. Defendants

       15.     Defendant Gutteridge Jean-Charles (“Dr. Jean-Charles”) is a resident of the

State of Florida and is sui juris.

       16.     Defendant Gutteridge JeanCharles, M.D., P.A. is a Florida Corporation

with its principal place of business at 453 N. Kirkman Road, #203, Orlando, FL

32811. At all relevant times to this Complaint, this Florida Corporation, has been

doing business as JC Medical Center (hereinafter “JC Medical Center”).

                                FACTUAL ALLEGATIONS

   A. Immigration Status

       17.     Plaintiff is a physician from Egypt, who entered the U.S. on a J-1

Exchange Visitor Visa to seek advanced training in a US-medical residency program.

       18.     While in the U.S., Plaintiff met the woman who he later married.

       19.     Plaintiff and his wife applied for a visa waiver so that Plaintiff could

lawfully remain in the U.S.

       20.     Unfortunately, this occurred in the middle of the pandemic, which
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caused a substantial delay in the processing of immigration applications.

      21.     Receiving the waiver caused a delay in Plaintiff’s application for a green

card and work authorization to be submitted.

      B. Job and School Opportunities

      22.     While Plaintiff was waiting for his legal paperwork, he began applying to

“match” with, and be accepted to a residency program.

      23.     Without work authorization, he was not able to “match” a residency

program.

      24.     Plaintiff determined that he needed to work in a clinic to gain experience

so that the following year, he could “match” a residency program.

      25.     Plaintiff found an advertisement on Indeed.com put forth by Dr. Jean-

Charles, M.D. which was for employment with the JC Medical Center.                 The

advertisement offered full-time employment with a salary of $500 per month in

Orlovista, Florida.

      26.     On March 22, 2022, Plaintiff submitted an application on Indeed.com for

this job opportunity.

      27.     On March 26, 2022, Dr. Jean-Charles conducted an interview of Plaintiff

via video-call. During the interview, Dr. Jean-Charles told Plaintiff:

            a. how his program helped many International Medical Graduates get into

               residency programs;

            b. Plaintiff would get a “stipend” as compensation and moving

               reimbursement since Plaintiff and his family were moving across the
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                country;

             c. Plaintiff admitted that his application for his green card and work

                authorization were submitted to USCIS but had not been received yet;

             d. Dr. Jean-Charles offered to write USCIS a letter to speed up the process;

                and

             e. Dr. Jean-Charles confirmed that as long as the application for work

                authorization was submitted, he was willing to hire Plaintiff and would

                pay him.

       28.     At the conclusion of the interview, Dr. Jean-Charles emailed Plaintiff a

job offer, stating:

             a. The employment position was for a "Clinical Assistant” at the JC

                Medical Center and the employee would shadow, learn, train, and be

                taught about the practice of medicine.

             b. “The program offers a stipend to assist in cost-of-living expenses.”

             c. The program “is for a term of one year. It will automatically renew

                unless the candidate starts residency in an accredited program in the

                USA.”

             d. Plaintiff was invited to meet the team on Friday, April 1, 2022.

       29.     On the same day, Plaintiff responded, stating that he wished to make his

final decision after the meeting on Friday and expressed his interest in the position.

       30.     On March 28, 2022, Plaintiff emailed the Assistant Manager to confirm

that relocation reimbursement would be offered.
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      31.      On March 29, 2022, Plaintiff receive an email stating that “Dr. Jean

Charles will consider relocation reimbursement based on your commitment.” Plaintiff

understood this, in combination with the previous statements made, to be an

affirmation.

      32.      On April 1, 2022, Plaintiff met with Dr. Jean-Charles and his staff at the

JC Medical Center.

      33.      Plaintiff inquired again about the salary and told Dr. Jean-Charles that

he could not afford to work without compensation and the moving reimbursement

that had been promised.

      34.      Dr. Jean-Charles stated that a Clinical Assistant position would make

$32,000 - $36,000 per year.

      35.      While at the office, Dr. Jean-Charles had him meet another employee

who had just “matched” into a residency program. Dr. Jean-Charles knew that

“matching” a residency was Plaintiff’s goal and he dangled this to cause Plaintiff to

believe JC Medical Center would help him acquire his own “match.”

      36.      At the conclusion of the office visit, Plaintiff flew back home and shortly

thereafter, confirmed he would take the job.

   B. Labor Trafficking of Plaintiff by Dr. Jean-Charles

      37.      At all material times to this Complaint, Dr. Jean-Charles was the sole,

licensed doctor at JC Medical Center.

      38.      All employees and those employed by the practice answer to Dr. Jean-

Charles, as he has the final decision-making authority over all matters of this practice.
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      39.    JC Medical Center is the alter-ego of Dr. Jean-Charles.

      40.    On April 17, 2022, Plaintiff flew back to Florida to start work as an

employee of JC Medical Center.

      41.    On the same day, Dr. Jean-Charles led Plaintiff to believe he would be

compensated by sending Plaintiff a link to an app called Gusto. Dr. Jean-Charles

represented that this was the app that was used to pay the employees.

      42.    On April 18, 2022, Plaintiff showed up for his first day at work.

      43.    Surprisingly, Plaintiff was instructed by the office manager that he was

required to provide his own laptop for office work.

      44.    Plaintiff was unable to access Gusto due to lack of work authorization

paperwork, so he brought it to the office manager’s attention.

                  1. Refusal to Compensate Plaintiff

      45.    The manager reported the Gusto login issue to Dr. Jean-Charles, and the

Plaintiff then met with Dr. Jean-Charles. In that meeting, they discussed the fact that

Plaintiff’s work authorization had not been granted yet. Despite previously having

knowledge of this and agreeing to overlook it to entice Plaintiff to take the job, Dr.

Jean-Charles suddenly acted like he didn’t know Plaintiff’s immigration situation.

      46.    Dr. Jean-Charles told Plaintiff that he should not have told anyone in the

office about his lack of work authorization. He stated it was a “dangerous and delicate

matter” and that all he was able to do was allow Plaintiff to “volunteer” for three

months.

      47.    Plaintiff understood this statement to be a veiled threat that Dr. Jean-
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Charles would contact USCIS.

      48.    Plaintiff asked “what about the compensation?” Dr. Jean-Charles again

changed his position and stated “First, I need to see how you do. I will give you your

compensation in the form of gift cards.”

      49.    Dr. Jean-Charles agreed to employ Plaintiff and provide compensation,

not have him “volunteer.”

      50.    In direct contradiction to his prior statement, Dr. Jean-Charles stated that

he did not believe writing to USCIS would speed anything up so he would not be

writing them a letter.

      51.    On April 19, 2022, Dr. Jean-Charles emailed Plaintiff, stating: “This is

an official communication to confirm your request to be granted the status of

“Volunteer” at the JC Medical Center for a period of three months in which you will

be receiving training and an opportunity to gain valuable US clinical experience as an

IMG. This training period will be followed by a salaried position starting July 2022, if

all goes according to plan and all other requirements are met.”

      52.    Plaintiff knew that he only had a few months left until the residency

application submission window opened. With that, he knew he did not have the

ability to seek another job.

      53.    Based on statements made to him by Dr. Jean-Charles, Plaintiff believed

that Dr. Jean-Charles held the “keys” to getting him necessary recommendation letter

to successfully “match” a residency program.

      54.    Based on statements made to him by Dr. Jean-Charles, Plaintiff also
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believed that he was going to receive compensation in the amount offered in the future.

      55.    Plaintiff was expected to work a full-time job, as well as weekends. He

was not offered overtime pay or any additional compensation.

      56.    Plaintiff was seeing 30-40 patients a day himself.

                      2. JC Medical Center Has A High Volume of Clients

      57.    JC Medical Center scheduled around 75 patients a day and about 50-60

of those patients came to the office each day.

      58.    To treat this many patients, the office employed two providers and three

clinical assistants Monday – Friday. On Saturday, the office employed three providers

and two clinical assistants.

      59.    Most of the patient population served spoke Creole and little to no

English.

      60.    Upon information and belief, no person working at JC Medical Center is

licensed to practice medicine in the U.S. except for Dr. Jean-Charles.

      61.    Some employees in the office would independently sign Dr. Jean-

Charles’s electronic signature to medication prescriptions.

      62.    Upon information and belief, Dr. Jean-Charles was aware of this and

allowed this practice to continue.

                      3. Failure to Direct, Teach, or Train Plaintiff

      63.    Plaintiff was not provided any understanding as to what his duties as a

Clinical Assistant were.

      64.    Plaintiff was not provided any training to oversee how he was doing
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tasks, or to teach him.

       65.    Despite the lack of training, Dr. Jean-Charles immediately began having

Plaintiff interact with patients, take vitals, and collect medical histories.

       66.    There was no teaching or training. When mistakes were made, he was

ominously scolded instead of taught how to correct the mistake.

       67.    On May 2, 2022, Plaintiff received an email from Dr. Jean-Charles

discussing a “Clinical Internship.” The email asked him to prepare a weekly progress

report to ensure the program was continually improving.

       68.    On May 4, 2022, Dr. Jean-Charles explained his evaluation process to

Plaintiff and his team. He stated that he primarily relies on patient feedback, which is

supposedly gathered through Dr. Jean-Charles selectively calling patients to ask for

their subjective feedback.

       69.    Dr. Jean-Charles used humiliation in his “teaching” approach, calling

out and embarrassing his employees and interns in front of their colleagues, to include

Plaintiff.

       70.    Dr. Jean-Charles was quick to berate, belittle, and criticize employees

and interns, including Plaintiff.

       71.    Upon information and belief, Dr. Jean-Charles used this tactic to cause

his employees and interns to doubt their own self-worth, knowledge base, and skill

level so that he could continue to receive the underpaid or free labor for his own

commercial gain.



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                      4. Exploitation of Plaintiff

      72.    Plaintiff was one of various IMGs working for Dr. Jean-Charles; there

was another doctor from Haiti who did not speak about his immigration status,

worked as a “volunteer” on the books, and performed the duties of a Clinical Assistant.

      73.    Dr. Jean-Charles expected Plaintiff to see patients in the clinic. Dr. Jean-

Charles did not consult with Plaintiff on each patient’s care and presumably reviewed

the files at the end of the day from his house.

      74.    Dr. Jean-Charles’s lack of oversight left individual patient care in the

hands of a Clinical Assistant who was still learning and had nominal experience.

      75.    Dr. Jean-Charles told Plaintiff to call the Assistant Program Director

anytime he had a question. Dr. Jean Charles came to the clinic around noon on most

days. He spent most of his time with foreign medical students who pay him for virtual

and onsite access to his practice.

      76.    On May 24, 2022, Plaintiff again asked Dr. Jean-Charles for a letter to

help speed up the work authorization process. Dr. Jean-Charles responded “I haven’t

forgotten about your letter. I want to know who you are.”

      77.    This statement made Plaintiff believe that his compensation and

recommendation letter were still forthcoming.

      78.    Plaintiff and his wife had spent all their savings. Plaintiff had not received

any compensation, nor the relocation reimbursement that had been promised as part

of the employment.

      79.    Desperate for money, Plaintiff contacted the officer manager, and
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explained that he’d been promised compensation through gift cards but hadn’t been

paid yet. He was told that the office manager would have to discuss that with Dr.

Jean-Charles.

      80.    On June 7, 2022, Dr. Jean-Charles followed up with Plaintiff about his

compensation and berated him for bringing the question to the office manager. He

stated that he could not give him any money until his immigration status cleared.

      81.    In early to mid-June, 2022, Dr. Jean-Charles began allowing Plaintiff to

put Dr. Jean-Charles’s electronic signature on orders for labs and referrals.

      82.    Plaintiff was told that Dr. Jean-Charles was reviewing the files with these

in them at the conclusion of the day.

      83.    On June 10, 2022, Dr. Jean-Charles met with Plaintiff and offered him a

3-year employment contract – the position was 1 year as a Clinician Assistant, and

then a junior physician-in-training for the following 2 years. If Plaintiff “matched”

and started a residency program in the USA, he could be released from the contract.

      84.    To lure, entice, and coerce Plaintiff to sign this 3-year contract, Dr. Jean-

Charles again offered to help with immigration and again promised a salary. He

offered:

  YEAR      JOB POSITION                    SALARY          INCREASE

  Year 1    Clinician Assistant             $36,000

  Year 2    Junior Physician in Training    $52,000         36% increase in salary

  Year 3    Junior Physician in Training    $78,000         66% increase in salary



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       85.    The 3-year offer had an early termination penalty of $20,000.00 plus legal

fees. An exception to the penalty existed if Plaintiff to quit in order to accept a medical

residency position.

       86.    On June 13, 2022, Plaintiff responded, notifying Dr. Jean-Charles that

he had been offered compensation and moving reimbursement, which he had never

provided. Plaintiff requested being paid the money he had been originally promised

and relied upon when he started working for Dr. Jean-Charles.

       87.    In response, Dr. Jean-Charles retaliated by cancelling the job offer to

Plaintiff.

       88.    On June 17, 2022, the office manager informed Plaintiff that Dr. Jean-

Charles was switching his duties from being “in the back” to being “in the front,” away

from the fast-moving clinical work that Plantiff loved and provided him experience.

       89.    He was also told that he’d have his own schedule under the name of

“Chronic Care Clinic, CCC.”

       90.    On that same day, Dr. Jean-Charles asked Plaintiff to stay late. Dr. Jean-

Charles gave Plaintiff a $200 gift card.

       91.    Dr. Jean-Charles flip-flopped and again encouraged Plaintiff to agree to

the 3-year contract. Dr. Jean-Charles reaffirmed how valuable the experience of being

at his office was and baited Plaintiff by complimenting what a good job he was doing.

       92.    On June 21, 2022, Plaintiff began working the Chronic Care Clinic

schedule. In this role, Plaintiff was expected to see Dr. Jean-Charles’ patients without
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supervision.

       93.     Plaintiff had observed at least one other clinical assistant also treating Dr.

Jean-Charles’ patients without supervision.

       94.     At this level of experience and education, any clinical assistant should be

supervised by Dr. Jean-Charles.

       95.     On June 22, 2022, Dr. Jean-Charles indirectly threatened Plaintiff by

stating that he could be replaced by another student because his position was very

valuable and coveted. Dr. Jean-Charles frequently made comments of this genre to

ensure Plaintiff remained obedient and compliant, hoping to earn the salary and

recommendation letter that he had been offered and never received.

       96.     On June 29, 2022, Dr. Jean-Charles told Plaintiff that he did not

deliberately pick Plaintiff as the first person to go to the front. He said he just thought

[Plaintiff] already had the clinical part of the job down, and that he “wanted to teach

[Plaintiff] something else.”

       97.     That same day, Dr. Jean-Charles got cold feet and completely moved

Plaintiff out of all patient contact. He said, “[y]ou’re too involved in patient care and

you don’t have your papers. I know you were [previously] a medical resident and these

things come naturally for you, but I cannot risk it.” Instead, he assigned Plaintiff to

identify patients in the system who did not have a wellness visit this year, and to send

those names to the scheduler, and to assist another employee with vital signs and

histories.

       98.     Plaintiff was frustrated, as he was in an impossible situation:
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              a. Dr. Jean-Charles had told him that he would not “match” a residency

              program without the clinical experience Dr. Jean Charles offered at his

              medical center.

              b. It was already July and Plaintiff had almost 3 months of experience

                  as a clinical assistant. If Plaintiff quit, Dr. Jean-Charles would not

                  write a recommendation letter, causing Plaintiff to have wasted the

                  time and miss the application window. Additionally, it was too late

                  to get any similar experience that could be added to the application.

              c. Plaintiff and his wife were struggling financially – they were still

                  expecting and relying on the promise of payment, which kept being

                  extended into future payment from Dr. Jean-Charles.

       99.    On July 1, 2022, the office manager confirmed for Plaintiff that Dr. Jean-

Charles had authorized Plaintiff to see patients and help in the back when they were

overwhelmed. This was in direct contradiction to what was previously stated.

       100.   On July 5, 2022, Plaintiff was walking to work when the office manager

called and asked him to please work in the back (the busy clinical area) and cover a

shift for another clinical assistant who called out sick.

       101.   On July 5, 2022, Dr. Jean-Charles stated he was going to give Plaintiff

something at the end of the day. Plaintiff was desperate for money and humiliated

that he had to beg for it. At the end of the day, Dr. Jean-Charles stated he’d forgot

and stated he was going to “do it tomorrow.”

       102.   The next day, Dr. Jean-Charles did not give Plaintiff any money.
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       103.   On July 7, 2022, a family member of Plaintiff’s reached out to Dr. Jean-

Charles and told him that Plaintiff did not know about the email but that what Dr.

Jean-Charles was doing to him was labor trafficking. He encouraged Dr. Jean-Charles

to honor his contract with Plaintiff.

       104.   On July 8, 2022, Dr. Jean-Charles responded defensively, denied

knowing that Plaintiff did not have work authorization when he hired him, and

demanded that the family member cease and desist contacting him.

       105.   That same day, Dr. Jean-Charles gave Plaintiff a bribe to silence him; he

handed him an envelope with $500 cash and a $450 Visa gift card.

       106.   On July 9, 2022, Plaintiff’s work account was blocked. When he asked

about this, Dr. Jean-Charles emailed back stating that “the account was setup for a 3-

month observership with an expiration date.           Unless you obtain your work

authorization, I will not be able to reinstate it.” This was in direct conflict with the

prior job offers, promises of compensation, encouragement to work, and the title of

being a clinical assistant.

       107.   Additionally, the officer manager could no longer find Plaintiff’s name

in the employee registry. Upon information and belief, Dr. Jean-Charles deleted him

from the employee log.

       108.   On July 12, 2022, Dr. Jean-Charles encountered Plaintiff in the clinic

parking lot. Dr. Jean-Charles stated that someone was “advocating” for Plaintiff and

had accused Dr. Jean-Charles of human trafficking. He stated that the Plaintiff’s

advocate was talking about “dangerous stuff” and he no longer wanted Plaintiff in his
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practice.

      109.   Dr. Jean-Charles did not offer to compensate Plaintiff for the time and

effort he gave the practice, despite the fact that Plaintiff worked about 720 hours as an

employee of JC Medical Center.

      110.   Dr. Jean-Charles did not offer to reimburse Plaintiff for the relocation

expenses that were incurred, despite his prior offer to cover up to $3000 for relocation.

                                 CAUSES OF ACTION

                                        COUNT I
       VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION
             REAUTHORIZATION ACT – FORCED LABOR
                             18 U.S.C. §§ 1589(a) and 1595(a)
                                     (All Defendants)
      111.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      112.   Plaintiff was an immigrant at all times relevant to this action.

      113.   Dr. Jean-Charles is the sole, licensed doctor at JC Medical Center. All

employees and those connected to the practice answer to Dr. Jean-Charles, as he has

the final decision-making authority over all matters of this practice.

      114.   JC Medical Center is the alter-ego of Dr. Jean-Charles.

      115.   Defendants Dr. Jean-Charles and JC Medical Center obtained the labor

or services of Plaintiff in the medical practice through fraud, misrepresentation, and

coercion.

      116.   Defendants Dr. Jean-Charles and JC Medical Center threatened abuse of


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law or legal process to obtain Plaintiff’s labor or services, in violation of 18 U.S.C. §

1589(a)(3). This caused Plaintiff to continue working for Defendants and providing

labor and services.

      117.   Defendants Dr. Jean-Charles and JC Medical Center caused serious

nonphysical harm to Plaintiff, in violation of 18 U.S.C. § 1589(a)(2). The harm was

sufficiently serious so that it would cause a reasonable person of the same background

and in the same circumstances to continue performing the labor or services to mitigate

and/or avoid the harm.

      118.   Defendants Dr. Jean-Charles and JC Medical Center engaged in a

scheme, plan, or pattern intended to cause Plaintiff to believe that if he did not

continue to provide labor or services, he would suffer serious nonphysical harm, in

violation of 18 U.S.C. § 1589(a)(4). The anticipated harm was sufficiently serious so

that it would cause a reasonable person of the same background and in the same

circumstances to continue performing the labor or services to mitigate and/or avoid

the harm.

      119.   Defendants’ conduct has caused Plaintiff serious harm including,

without limitation, psychological, financial, and reputational harm.

      120.   Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to 18 U.S.C. §

1595(a), and other related authority.

      WHEREFORE, Plaintiff demands judgment against Defendants Dr. Jean-

Charles and JC Medical Center, jointly and severally, for psychological harm,
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financial harm, and reputational harm, in an amount to be proven at the time of trial,

award him reasonable attorney's fees and costs, and such further relief as this Court

deems just and proper.

                                       COUNT II
BENEFITING FROM A VENTURE IN VIOLATION OF THE TRAFFICKING
 VICTIMS PROTECTION REAUTHORIZATION ACT – FORCED LABOR
                             18 U.S.C. §§ 1589(b) and 1595(a)
                               (Defendant JC Medical Center)

      121.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      122.   Plaintiff was an immigrant at all times relevant to this action.

      123.   Dr. Jean-Charles is the sole, licensed doctor at JC Medical Center. All

employees and those connected to the practice answer to Dr. Jean-Charles, as he has

the final decision-making authority over all matters of this practice.

      124.   JC Medical Center is the alter-ego of Dr. Jean-Charles.

      125.   Defendants Dr. Jean-Charles and JC Medical Center obtained the labor

or services of Plaintiff in the medical practice through fraud, misrepresentation, and

coercion.

      126.   Defendants Dr. Jean-Charles and JC Medical Center threatened abuse of

law or legal process to obtain Plaintiff’s labor or services, in violation of 18 U.S.C. §

1589(a)(3). This caused Plaintiff to continue working for Defendants and providing

labor and services.

      127.   Defendants Dr. Jean-Charles and JC Medical Center caused serious

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nonphysical harm to Plaintiff, in violation of 18 U.S.C. § 1589(a)(2). The harm was

sufficiently serious so that it would cause a reasonable person of the same background

and in the same circumstances to continue performing the labor or services to mitigate

and/or avoid the harm.

       128.   Defendants Dr. Jean-Charles and JC Medical Center engaged in a

scheme, plan, or pattern intended to cause Plaintiff to believe that if he did not

continue to provide labor or services, he would suffer serious nonphysical harm, in

violation of 18 U.S.C. § 1589(a)(4). The anticipated harm was sufficiently serious so

that it would cause a reasonable person of the same background and in the same

circumstances to continue performing the labor or services to mitigate and/or avoid

the harm.

       129.   Defendants Dr. Jean-Charles and JC Medical Center knowingly

benefited, attempted to benefit, or conspired to benefit from such participation by

receiving Plaintiff’s labor and services while only paying him a nominal amount of

money.      Plaintiff worked full-time hours, overtime hours, and covered for paid

employees when they were out or overwhelmed.

       130.   Defendants Dr. Jean-Charles and JC Medical Center were collectively

participating in a venture in which they knew or should have known was engaging in

forced labor of Plaintiff.

       131.   Defendants’ conduct has caused Plaintiff serious harm including,

without limitation, psychological, financial, and reputational harm.

       132.   Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff
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is entitled to an award of prevailing party attorney's fees pursuant to 18 U.S.C. §

1595(a), and other related authority.

      WHEREFORE, Plaintiff demands judgment against Defendant JC Medical

Center for psychological harm, financial harm, and reputational harm, in an amount

to be proven at the time of trial;, award him reasonable attorney's fees and costs, and

such further relief as this Court deems just and proper.

                                        COUNT III
       VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION
                     REAUTHORIZATION ACT
                             18 U.S.C. §§ 1590(a) and 1595(a)
                                     (All Defendants)
      133.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      134.   Plaintiff was an immigrant at all times relevant to this action.

      135.   Dr. Jean-Charles is the sole, licensed doctor at JC Medical Center. All

employees and those connected to the practice answer to Dr. Jean-Charles, as he has

the final decision-making authority over all matters of this practice.

      136.   JC Medical Center is the alter-ego of Dr. Jean-Charles.

      137.   Defendants Dr. Jean-Charles and JC Medical Center obtained the labor

or services of Plaintiff in the medical practice through fraud, misrepresentation, and

coercion.

      138.   Defendants Dr. Jean-Charles and JC Medical Center recruited, harbored,

transported, provided, or obtained Plaintiff for labor or services by:


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             e. advertising, interviewing, and hiring Plaintiff;

             f. offering compensation and moving expense reimbursement to cause

                Plaintiff to move to Florida;

             g. leading Plaintiff to believe that Defendants would overlook his

                immigration issues;

             h. promising letters and recommendations to get into a residency program;

             i. promising payment in the future;

             j. incurring a secrecy in which all compensation matters had to come

                through the one point of contact – Dr. Jean-Charles;

             k. changing and modifying contracts without cause or agreement;

             l. creating a culture of reverence and fear around Dr. Jean-Charles; and

             m. leading Plaintiff to believe the program was temporary when Dr. Jean-

                Charles always intended for it to be long-term for his own exploitative

                gain.

      139.     Defendants’ conduct has caused Plaintiff serious harm including,

without limitation, psychological, financial, and reputational harm.

      140.     Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to 18 U.S.C. §

1595(a), and other related authority.

      WHEREFORE, Plaintiff demands judgment against Defendants Dr. Jean-

Charles and JC Medical Center, jointly and severally, for psychological harm,

financial harm, and reputational harm, in an amount to be proven at the time of trial,
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award him reasonable attorney's fees and costs, and such further relief as this Court

deems just and proper.

                                       COUNT IV
BENEFITING FROM A VENTURE IN VIOLATION OF THE TRAFFICKING
         VICTIMS PROTECTION REAUTHORIZATION ACT
                             18 U.S.C. §§ 1590(a) and 1595(a)
                               (Defendant JC Medical Center)

      141.     Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      142.     Plaintiff was an immigrant at all times relevant to this action.

      143.     Dr. Jean-Charles is the sole, licensed doctor at JC Medical Center. All

employees and those connected to the practice answer to Dr. Jean-Charles, as he has

the final decision making authority over all matters of this practice.

      144.     JC Medical Center is the alter-ego of Dr. Jean-Charles.

      145.     Defendants Dr. Jean-Charles and JC Medical Center obtained the labor

or services of Plaintiff in the medical practice through fraud, misrepresentation, and

coercion.

      146.     Defendants Dr. Jean-Charles and JC Medical Center recruited, harbored,

transported, provided, or obtained Plaintiff for labor or services by:

             a. advertising, interviewing, and hiring Plaintiff;

             b. offering compensation and moving expense reimbursement to cause

                Plaintiff to move to Florida;

             c. leading Plaintiff to believe that Defendants would overlook his

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                 immigration issues;

              d. promising letters and recommendations to get into a residency program;

              e. promising payment in the future;

              f. incurring a secrecy in which all compensation matters had to come

                 through the one point of contact – Dr. Jean-Charles;

              g. changing and modifying contracts without cause or agreement;

              h. creating a culture of reverence and fear around Dr. Jean-Charles; and

              i. leading Plaintiff to believe the program was temporary when Dr. Jean-

                 Charles always intended for it to be long-term for his own exploitative

                 gain.

       147.     Defendants Dr. Jean-Charles and JC Medical Center knowingly

benefited, attempted to benefit, or conspired to benefit from such participation by

receiving Plaintiffs labor and services while only paying him a nominal amount of

money.    Plaintiff worked full-time hours, overtime hours, and covered for paid

employees when they were out or overwhelmed.

       148.     Defendants Dr. Jean-Charles and JC Medical Center were collectively

participating in a venture in which they knew or should have known was engaging in

forced labor of Plaintiff.

       149.     Defendants’ conduct has caused Plaintiff serious harm including,

without limitation, psychological, financial, and reputational harm.

       150.     Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to 18 U.S.C. §
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1595(a), and other related authority.

      WHEREFORE, Plaintiff demands judgment against Defendant JC Medical

Center for psychological harm, financial harm, and reputational harm, in an amount

to be proven at the time of trial, award him reasonable attorney's fees and costs, and

such further relief as this Court deems just and proper.

                                        COUNT V
             VIOLATION OF THE FAIR LABOR STANDARDS ACT
                              29 U.S.C. §§ 206, 207, 213
                                   (All Defendants)

      151.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      152.   Plaintiff was an “employee” within the meaning of the Fair Labor

Standards Act (“FLSA”) and was employed as a Clinical Assistant.

      153.   Plaintiff was not licensed to practice medicine in Florida at any time

material to this Complaint.

      154.   During the time Plaintiff was employed by Defendants, Defendants

violated the FLSA by failing to pay Plaintiff the required minimum wage for the work

he performed.

      155.   During the time Plaintiff was employed by Defendants, Defendants

failed to pay Plaintiff overtime pay for all hours worked above 40 hours per week.

      156.   Defendants’ actions in violation of 29 U.S.C. § 206 and 207 were willful

and intentional, as shown by their refusal to pay Plaintiff any wage despite their initial


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promises of a salary, and failure to provide anything more than $200.00 when

requested by Defendant.

      157.   Defendants are liable to Plaintiff under 29 U.S.C. §§ 206 and 216 of the

FLSA, for his unpaid wage compensation plus an equal amount as liquidated

damages, court costs, reasonable attorney’s fees and expenses, and other relief that the

Court may deem proper.

      WHEREFORE, Plaintiff demands judgment against Defendants Dr. Jean-

Charles and JC Medical Center, jointly and severally, for damages in the amount of

Plaintiff’s unpaid wages, plus liquidated damages, Plaintiff’s costs and attorney’s fees

incurred in this action, as provided for by 29 U.S.C. § 216(b), and such further relief

as the Court deems appropriate.

                                      COUNT VI
                             BREACH OF CONTRACT
                             (Defendant JC Medical Center)

      158.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      159.   Plaintiff received an official offer of employment from JC Medical Center

to work as a Clinical Assistant. That offer included a stipend, the job was for one year

in length, and required the employee to train his replacement before leaving to start

residency. JC Medical Center agreed to pay up to $3000 in relocation expenses.

      160.   Plaintiff accepted this offer.

      161.   Consequently, Plaintiff and JC Medical Center entered into a valid and

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enforceable Employment Contract.

      162.   The salary stipend and relocation reimbursement were material

inducements to Plaintiff’s decision to accept employment.

      163.   Relying on this accepted offer, Plaintiff incurred moving costs and

relocated himself and his family across the country to relocate to Florida.

      164.   Relying on this accepted offer, Plaintiff took this opportunity to enhance

his resume and work to gain valuable experience to “match” a residency, and in doing

so, did not select any other opportunities.

      165.   Plaintiff worked full-time hours plus overtime for several months with

the expectation of payment.

      166.   The Employment Contract was not amended mutually by both parties.

      167.   JC Medical Center breached the Employment Contract by:

             a. unilaterally not paying Plaintiff as contracted;

             b. not reimbursing Plaintiff for relocation costs beyond a $200 gift card;

             c. unilaterally reducing the term of employment to a shorter period of

                 time than one year as provided in the Employment Contract; and

             d. breaching the implied covenant of good faith and fair dealing by

                 misrepresenting to Plaintiff that he was not entitled to any notice or

                 process,   or     a   finding     of   just   cause,   prior   to   having

                 his salary and employment term of one year unilaterally terminated

                 after 3 months.

      168.   Plaintiff has been damaged by JC Medical Center’s breach of the
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Employment Contract. Defendant’s conduct has caused Plaintiff to lose the benefits

and privileges of employment, the educational opportunities from employment, time

to engage in a reputable program to apply for residency “match,” lost wages, and he

incurred moving expenses associated with his acceptance of JC Medical Center’s offer

to employ him.

       169.   Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to Florida Statute §

448.08, and other related authority.

       WHEREFORE, Plaintiff demands judgment against Defendant JC Medical

Center for accrued unpaid wages, in an amount to be proven at the time of trial;

accrued interest on those sums at the applicable judgment rate of interest; all of his

negotiated wages and reimbursements under the contract, compensatory damages

resulting from the breach of contract, award him reasonable attorney's fees and costs,

and such further relief as this Court deems just and proper.

                                       COUNT VII
     BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                   (Defendant JC Medical Center)

       170.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

       171.   As a party to the contract, JC Medical Center was bound and required to

deal in accordance with an implied covenant of good faith and fair dealing owed to

Plaintiff.

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      172.   As a Clinical Assistant employed by JC Medical Center for one year,

Plaintiff enjoys a property interest in his continued employment during the negotiated

term of employment, and in his negotiated salary during the negotiated term

of employment, which the Defendant may not unilaterally deprive without due

process of law and finding of cause.

      173.   JC Medical Center breached their covenant of good faith and fair dealing

with Plaintiff by, not only failing to provide him with notice and an opportunity to be

heard, prior to unilaterally reducing       or eliminating the negotiated salary and

negotiated term of one year, but also by affirmatively misrepresenting to their

employee that he was entitled to no notice whatsoever for changes to the Employment

Contract and/or that his Employment Contract did not govern the terms of

his employment.

      174.   Plaintiff has been damaged by JC Medical Center’s breach of its implied

covenant of good faith and fair dealing. Defendant’s conduct has caused Plaintiff to

lose the benefits and privileges of employment, the educational opportunities from

employment, time to engage in a reputable program to apply for residency “match,”

lost wages, and he incurred moving expenses associated with his acceptance of JC

Medical Center’s offer to employ him.

      175.   Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to Florida Statute §

448.08, and other related authority.

      WHEREFORE, Plaintiff demands judgment against Defendant JC Medical
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Center for accrued unpaid wages, in an amount to be proven at the time of trial;

accrued interest on those sums at the applicable judgment rate of interest; all of his

negotiated wages and reimbursements under the contract, compensatory damages

resulting from the breach of contract, award him reasonable attorney's fees and costs,

and such further relief as this Court deems just and proper.

                                       COUNT VIII
                             PROMISSORY ESTOPPEL
                             (Defendant JC Medical Center)

      176.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

      177.   Defendant JC Medical Center made a written promise to Plaintiff to

employ him as a Clinical Assistant for one year and for specific remuneration payable

during said term of employment.

      178.   Plaintiff accepted such written promise in writing, and reasonably relied

upon such promise of employment to his detriment, by moving to Florida from

Colorado to accept such employment as specifically offered and accepted.

      179.   Plaintiff incurred attorney’s fees and costs to bring this action. Plaintiff

is entitled to an award of prevailing party attorney's fees pursuant to Florida Statute §

448.08, and other related authority.

      WHEREFORE, Plaintiff demands Defendant JC Medical Center and its

agents, employees, servants, subordinates, and others acting on its behalf be estopped

from denying the existence of an employment contract which governs the terms and

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conditions of Plaintiff’s employment relationship.

        FURTHER, Plaintiff demands judgment against Defendant JC Medical Center

for accrued unpaid wages, in an amount to be proven at the time of trial; accrued

interest on those sums at the applicable judgment rate of interest; all of his negotiated

wages      under      the contract,    compensatory        damages      resulting    from

the breach of contract, award him reasonable attorney's fees and costs, and such

further relief as this Court deems just and proper.

                                       COUNT IX
                                 QUANTUM MERUIT
                                   (All Defendants)

        180.   Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

        181.   Plaintiff is entitled to recover from Defendants Dr. Jean-Charles and JC

Medical Center because Plaintiff rendered valuable services to them in the form of

medical care for JC Medical Center’s patients, administrative services, and other

duties for the benefit of Defendants Dr. Jean-Charles and JC Medical Center.

        182.   Defendants Dr. Jean-Charles and JC Medical Center accepted, used, and

enjoyed Plaintiff’s services, as demonstrated by the continued employment of Plaintiff,

and Defendants were reasonably notified that Plaintiff expected to be paid because Dr.

Jean-Charles promised to pay him, and he repeatedly asked to be paid.

        183.   Plaintiff is entitled to recover in quantum meruit the value of the services

he provided to Defendants in an amount to be proven at trial, and the court costs of

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this action.

       WHEREFORE, Plaintiff demands judgment against Defendants Dr. Jean-

Charles and JC Medical Center, jointly and severally, for quantum meruit, interest,

court costs, and such further relief as this Court deems just and proper.

                                       COUNT X
                              UNJUST ENRICHMENT
                                  (All Defendants)

       184.    Plaintiff realleges and incorporates by reference paragraphs 1-109 as if

fully incorporated herein.

       185.    Plaintiff is entitled to recover from Defendants Dr. Jean-Charles and JC

Medical Center because Plaintiff rendered valuable services to them in the form of

medical care for JC Medical Center’s patients, administrative services, and other

duties for the benefit of Defendants Dr. Jean-Charles and JC Medical Center.

       186.    Defendant knowingly retained that benefit by failing to provide any

compensation other than $200.00 during the time that Plaintiff worked for JC Medical

Center.

       187.    Defendants’ retention of this benefit conferred without paying Plaintiff

the value of that benefit is unjust and inequitable, as evidenced by the illegality of such

conduct under the laws of the United States.

       188.    Plaintiff is entitled to judgment against Defendants Dr. Jean-Charles and

JC Medical Center for their unjust enrichment in an amount to be proven at trial, and

court costs of this action.

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      WHEREFORE, Plaintiff demands judgment against Defendants Dr. Jean-

Charles and JC Medical Center, jointly and severally, for unjust enrichment, interest,

court costs, and such further relief as this Court deems just and proper.



                        DEMAND FOR TRIAL BY JURY

      Plaintiff demands a trial by jury on all claims so triable.




DATED: January 5, 2024                          /s/ Lisa D. Haba
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